       Case 3:10-cr-00251-PAD    Document 328    Filed 08/05/10   Page 1 of 7



 1                      IN THE UNITED STATES DISTRICT COURT
 2                        FOR THE DISTRICT OF PUERTO RICO

 3
 4    UNITED STATES OF AMERICA,
 5
      Plaintiff,
 6
      v.                                               CRIMINAL 10-0251 (JAF)
 7
 8    ÁNGEL COLÓN DE JESÚS,

 9    Defendant
10
11
                                   OPINION AND ORDER
12
13
            Ángel Colón de Jesús was charged in a three-count indictment on April 15,
14
     2009 with, having been convicted of a crime punishable by imprisonment for a
15
16   term exceeding one year, knowingly possessing in and affecting interstate

17   commerce, two firearms, that is, a Glock model 23, .40 caliber pistol with a loaded
18
     magazine with 12 rounds of ammunition and one round in the chamber, and a
19
     Smith & Wesson, model 69006, 9mm caliber pistol with one magazine loaded with
20
21   16 rounds of ammunition and one round in its chamber, said firearms having been

22   shipped and transported in interstate or foreign commerce, in violation of 18
23
     U.S.C. §§ 922(g)(1) and 924(a)(2). He was also charged with being a known user
24
     of a controlled substance and knowingly possessing those same weapons, in
25
26   violation of 18 U.S.C. §§ 922(g)(3) and 924(a)(2). The third count contains a

27   forfeiture allegation. (Criminal 09-0136 (ADC), Docket No. 11.)
28
       Case 3:10-cr-00251-PAD   Document 328   Filed 08/05/10   Page 2 of 7



 1   CRIMINAL 10–0251 (JAF)                2
 2
 3
           In that case, there is a notation on June 24, 2009 that the defendant was
 4
     to be evaluated by Dr. Carol Romey, a forensic and clinical psychologist. The
 5
 6   defendant remains subject to that mental evaluation. (Criminal 09-0136 (ADC),

 7   Docket No. 20.) On February 25, 2010, retained defense counsel informed that
 8
     the defendant had decided to explicitly renounce raising any matter of insanity
 9
     defense at trial.   He also informed that the evaluation would therefore be
10
11   academic. (Criminal 09-0136 (ADC), Docket No. 47.) On July 13, 2010, the court

12   ordered the mental evaluation to be filed and scheduled a mental competency
13
     hearing for August 3, 2010.   (Criminal 09-0136 (ADC), Docket No. 58.) The
14
     hearing was then continued to September 2, 2010. (Criminal 09-0136 (ADC),
15
16   Docket No. 62.)

17         Ángel Colón de Jesús was also charged in a 110-defendant, 26-page
18
     indictment dated July 14, 2010, with knowingly and intentionally conspiring to
19
     possess with the intent to distribute one kilogram or more of a mixture or
20
21   substance containing a detectable amount of heroin, a Schedule I Narcotic Drug

22   Controlled Substance, 50 grams or more of a mixture or substance containing a
23   detectable amount of cocaine base, a Schedule II Narcotic Drug Controlled
24
     Substance, five kilograms or more of a mixture or substance containing a
25
     detectable amount of cocaine, a Schedule II Narcotic Drug Controlled Substance,
26
27   in excess of 100 kilograms of a mixture or substance containing a detectable

28
       Case 3:10-cr-00251-PAD    Document 328     Filed 08/05/10   Page 3 of 7



 1   CRIMINAL 10–0251 (JAF)                   3
 2
 3
     amount of marijuana, a Schedule I Controlled Substance, a mixture or substance
 4
     containing detectable amounts of Oxycodone (commonly known as Percocet), a
 5
 6   Schedule II Controlled Substance, and a mixture or substance containing

 7   detectable amounts of Alprazolam (commonly known as Xanax), a Schedule IV
 8
     Controlled Substance, all within 1,000 feet of the real property comprising housing
 9
     facilities owned by a public housing authority, that is, the Virgilio Dávila Public
10
11   Housing Project, Las Gardenias Public Housing Project, the Brisas de Bayamón

12   Public Housing Project, the Falín Torrech Public Housing Project, and other areas
13
     within the Municipality of Bayamón, Puerto Rico, all in violation of 21 U.S.C. §§
14
     841(a)(1), 846 and 960. (Criminal 10-0251 (JAF), Docket No. 3.) He is also
15
16   charged with 19 others in aiding and abetting each other during and in relation to

17   a drug trafficking crime for which they may be prosecuted in a court of the United
18
     States, that is, conspiracy to possess with intent to distribute and/or to distribute
19
     heroin, cocaine base, cocaine, marijuana, Oxycodone, and Xanax, in violation of
20
21   21 U.S.C. §§ 841(a)(1), 846 and 960, in carrying and using firearms as that term

22   is defined in 18 U.S.C. § 921(a)(3), all in violation of 18 U.S.C. §§ 924(c)(1)(A)
23   and 2.
24
           The defendant’s initial appearance was held on July 23, 2010. It would have
25
     been held on July 22, 2010 but the defendant refused to leave his cell when
26
27   required by the Bureau of Prisons personnel on that morning. The arraignment

28
       Case 3:10-cr-00251-PAD    Document 328      Filed 08/05/10     Page 4 of 7



 1   CRIMINAL 10–0251 (JAF)                   4
 2
 3
     was set for July 28, 2010 and bail hearing for August 6, 2010. (Docket No. 240.)
 4
     While defense counsel was not present on July 28, the defendant was instructed
 5
 6   to try to cooperate with the United States Marshal in relation to being transported

 7   to court since the Marshal had informed that the defendant had refused to leave
 8
     his cell at the metropolitan detention facility when instructed to do so.           The
 9
     defendant was also instructed that the Marshal was authorized to use force if
10
11   needed in order to bring him to court proceedings.             (Docket No. 300.)    The

12   arraignment was reset for July 29, 2010, and again for August 3 and then August
13
     5. (Docket No. 313.) Defense counsel did not appear. On August 4, 2010,
14
     defense counsel informed that he had learned from another attorney that he had
15
16   failed to appear at several hearings in which he represented a party. Counsel

17   explained that he did not appear because he does not represent this defendant.
18
     He informs that when contacted by court personnel in relation to the
19
     representation,   he   informed   that   he   was    unavailable      to   assume   the
20
21   representation. His review of the docket does not reflect an order appointing him,

22   nor a voucher issued authorizing the representation. (Docket No. 315.) Indeed
23   the attorney later informed that he would be outside of Puerto Rico on August 5
24
     and August 9. Today, I issued an order to appoint another attorney to represent
25
     this defendant.
26
27
28
       Case 3:10-cr-00251-PAD    Document 328    Filed 08/05/10   Page 5 of 7



 1   CRIMINAL 10–0251 (JAF)                  5
 2
 3
           In court, the United States Marshal informed that the defendant again had
 4
     been refusing to be transported to court, thus requiring special independent
 5
 6   handling by the United States Marshal.      On the three occasions that I have

 7   addressed the defendant in court, his visage has reflected a blank affect of sorts,
 8
     as though staring at the Great Seal behind the judge’s bench. The defendant
 9
     never acknowledged any statement given by myself nor was he asked any
10
11   questions without the assistance of counsel.

12         The test for a criminal defendant’s competency to stand trial is governed by
13
     the standards laid out in 18 U.S.C. § 4241. This provision states that at any time
14
     after the commencement of a prosecution for an offense and prior to sentencing,
15
16   “the defendant or the attorney for the Government may file a motion for a hearing

17   to determine the mental competency of the defendant.” 18 U.S.C. § 4241(a).
18
     The court may grant the motion or order a hearing if there is reasonable cause to
19
     believe that the defendant may presently be suffering from a mental disease or
20
21   defect rendering him mentally incompetent to the extent that he is unable to

22   understand the nature and consequences of the proceedings against him and
23   assist properly in his defense. The provision further states that, “[i]f, after the
24
     hearing, the court finds by a preponderance of the evidence that the defendant
25
     is presently suffering from a mental disease or defect rendering him mentally
26
27   incompetent to the extent that he is unable to understand the nature and

28
       Case 3:10-cr-00251-PAD    Document 328    Filed 08/05/10   Page 6 of 7



 1   CRIMINAL 10–0251 (JAF)                  6
 2
 3
     consequences of the proceedings against him or to assist properly in his defense,
 4
     the court shall commit the defendant to the custody of the Attorney General.” 18
 5
 6   U.S.C. § 4241(d); see United States v. Wiggin, 429 F.3d 31, 37 (1st Cir. 2005).

 7   Commitment to the Attorney General entails hospitalization for up to four months,
 8
     or for a further period depending upon the nature of the improvement of his
 9
     mental state. See 18 U.S.C. § 4241(d)(1)(2)(A). “The test for incompetence is
10
11   . . . well settled. A defendant may not be put [on] trial unless he ‘has sufficient

12   present ability to consult with his lawyer with a reasonable degree of rational
13
     understanding . . . [and] a rational as well as factual understanding of the
14
     proceedings against him.’”    Cooper v. Oklahoma, 517 U.S. 348, 354 (1996)
15
16   (quoting Dusky v. United States, 362 U.S. 402, 402 (1960)). That hearing is yet

17   pending in the other case and the defendant has not yet consulted with counsel
18
     in the present case.
19
           In view of the above, because of the pendency of the determination of
20
21   mental competency of the defendant in Criminal 09-0136 (ADC), and the recurring

22   issues of the defendant’s unwillingness in being transported to court for
23   proceedings, I find that the period of time of the defendant's pending a
24
     determination of mental competency is excluded from any computations of time
25
     triggering possible speedy trial violations. 18 U.S.C. § 3161(h)(1)(A); see United
26
27   States v. Bennett,     F. Supp. 2d     , 2010 WL 1382413, at *1 (N.D. Ill. 2010)

28
       Case 3:10-cr-00251-PAD   Document 328    Filed 08/05/10   Page 7 of 7



 1   CRIMINAL 10–0251 (JAF)                 7
 2
 3
     at 1; cf. United States v. Turner, 602 F.3d 778, 783 (6th Cir. 2010). I also make
 4
     a finding that the ends of justice served by excluding this time period from any
 5
 6   computations outweigh the best interest of the public and the defendant in a

 7   speedy trial. 18 U.S.C. § 3161(h)(7); see generally United States v. Ruiz-Marty,
 8
     463 F. Supp. 2d 137, 140-41 (D.P.R. 2006).
 9
           At San Juan, Puerto Rico, this 5th day of August, 2010.
10
11
                                                     S/ JUSTO ARENAS
12                                         Chief United States Magistrate Judge
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
